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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF COLORADO

In re:                                    )
                                          )                 Case No. 11-35210-HRT
JEFFREY JOHN WEISS                        )
                                          )                 Chapter 7
                                          )
      Respondent.                         )
_________________________________________ )
                                          )
DR. JOHN AVENS, MARK BARRAND,             )
DR. CAROLJEAN BONGO, JOHN BRODBECK, )
DEBRA COOPER, RICHRD DEIS, JR.,           )
DIANE GADZIALA, ROBERT AND                )
KATHY HARTMAN, GERARD HERNANDEZ, )
DONNA LABOY, DENNIS AND PATRICIA          )
MOUSER, MICHAEL OCCHIATO, JOSHUA          )
AND ELIZABETH ROSEN, JOSHUA AND           )
MEAGAN STANEK                             )
                                          )
      Plaintiffs                          )
                                          )
v.                                        )
                                          )
JEFFREY JOHN WEISS, Debtor                )
                                          )
      Respondent.                         )


       COMPLAINT IN AN ADVERSARY PROCEEDING TO DETERMINE
   DICHARGEABILITY OF DEBT PURSUANT TO BANKJRUPTCY RULE 7001 (6)


        The above-captioned Plaintiffs (the “Plaintiffs”), by their counsel, Guardi & Associates,
for their Complaint against Jeffrey John Weiss (“Weiss”), allege as follows:

                                Parties, Jurisdiction and Venue

       1.    Respondent is an individual residing at 839 diamond Ridge Circle, Castle Rock,
Colorado 80108 and a Debtor in the captioned chapter 7 case.

      2.      The Plaintiffs are holders of claims against Respondent in the approximate
amount of $4,400,000.


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       3.     This Court has jurisdiction to hear and determine this core proceeding under 28
U.S.C. § 1334, 28 U.S.C. § 157, 11 U.S.C. § 523(A)(2), (4), (7), and (19) and General Procedure
Order 1984-01, promulgated by the United States District Court for the District of Colorado.

      4.      Venue is proper before this Court under 28 U.S.C. § 1408 and 1409 because
Respondent is domiciled in Colorado and because this case arises under title 11, United States
Code.

                                      General Allegations

         5.     On March 5, 2010, the Plaintiffs commenced an action setting forth three claims
for relief against the Respondent entitled Dr. John Avens et al. v. Wealth Management
Resources, LLC, et al., Case No. 2010 CV 254 in the District Court, 8th Judicial District, Larimer
County, Colorado (the “state court proceeding”). The state court proceeding was already
pending when this case was filed. A copy of the Second Amended Complaint in the state court
proceeding is filed herewith as Exhibit A (the “Complaint”).

      6.     The Respondent was served in the state court proceeding on or about March 15,
2020. The Respondent has answered the Complaint.

        7.     The state court proceeding arises from the Respondent’s misconduct in
connection with the PTV Hedge Fund Scheme (the “PTV Hedge Fund Scheme”). The PTV
Hedge Fund Scheme preyed on investors in Colorado and other states, particularly retirees and
the elderly. The Respondent and others embezzled approximately $6,000,000 invested by more
than 65 people in three hedge funds in a Ponzi scheme a la the Bernie Madoff scandal.1

        8.      Respondent directly and indirectly received proceeds derived from the sale of
securities in the PTV Hedge Fund Scheme.

       9.      Beginning April 9, 2009, the Respondent took out personal loans of $350,000
from the Fraudulent Hedge Funds in Colorado. These personal loans were evidenced by five
promissory notes signed by them individually in Colorado. The Respondent embezzled the
$350,000. All of the notes Respondent signed personally are in default for failure to repay
principal, except for a principal payment of $17,000.

         10.   Respondent was also manager of Horse Creek Farms, LLC, a Colorado limited
liability company (“Horse Creek”). At least a portion of the proceeds from these personal loans
was transferred to Horse Creek. Respondent falsified the five promissory notes as personal
promissory notes to conceal the true nature and extent of the loan. This was to obtain money for

1       See Complaint at ¶¶ 7-17. On February 25, 2009, the SEC commenced a civil action in
this District concerning the PTV Hedge Fund Scheme. The Court issued a preliminary
injunction on February 27, 2009. The Respondent appears to be within the scope of the
preliminary injunction.


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Horse Creek that it could not itself legitimately borrow because at the time Horse Creek was
already in default on a loan from another lender. There is no documentation, such as a
promissory note from Horse Creek, evidencing any consideration or value received, such as an
investment in Horse Creek, for the transfer. The Respondent’s misconduct was an essential part
of the scheme to defraud. See Complaint at ¶¶ 11, 111-115, 149, 156, 171, 176.

        11.     The Complaint sets forth a claim for relief against Respondent for violations of
the Colorado Securities Act, C.R.S. § 11-51-101, et seq., by the Respondent. The Sixth Claim
for Relief (Sale of Security by Defendants in Violation of § 11-51-604 (3) of the Colorado
Securities Act) is based on the Respondent’s use of a scheme to defraud and acts, practices and
courses of business that operated as a fraud in connection with the sale of a security. Both
claims also include allegations of substantial assistance by the Respondent with similar
misconduct by other defendants, including the manager, Wealth Management Resources, LLC.
See Complaint at ¶¶ 218-223.

        12.      The Complaint also sets forth two claims for relief against Respondent for
violation of §§ 18-17-104(3) and (4) of the Colorado Organized Crime Control Act. The
Plaintiffs also seek to proceed in the state court proceeding under relief from the automatic stay
to adjudicate the Respondents’ violations of §§ 18-17-104(3) and (4)) C.R.S. of the Colorado
Organized Crime Control Act (“COCCA”) (First Claim for Relief) and Receipt of Proceeds
Subject to Forfeiture under §§ 18-17-106 of COCCA (Second Claim for Relief). See Complaint
at ¶¶ 177-197.

        13.     The PTV Hedge Fund Scheme, though not a corporation or other legal entity, was
an enterprise as defined in C.R.S. §18-17-103(2). The Respondent knowingly conducted or
participated, directly or indirectly, in the PTV Hedge Fund Scheme, through a pattern of
racketeering activity as defined in C.R.S. §18-17-103(3). The pattern of racketeering activity
included securities offenses, as defined in C.R.S. §§11-51-401 and 11-51-603 (licensing of
brokers and dealers), 11-51-301 and 11-51-603 (registration of securities), and 11-51-501 and
11-51-603 (fraud and other prohibited practices). Said securities offenses constitute racketeering
activity as defined in C.R.S. §18-17-103(5)(a).

        14.    The COCCA claims (First and Second Claims for Relief) are based on the
Respondent’s obtaining money by false pretenses and promises, the Respondent’s commission of
mail fraud and wire fraud, securities offenses, including but not limited to fraud and other
prohibited practices under §§11-51-501 and 603 of the Colorado Securities Act, and aiding and
abetting, and conspiring with, the other defendants.

       15.      After the Plaintiffs obtain a post-petition judgment imposing liability on the
Respondent on the Sixth Claim for Relief, the Court may determine whether that judgment is
dischargeable. In re Jafari, 341 B.R. at 500 (“Once liability has been imposed, then either a
bankruptcy court or a non-bankruptcy court may determine the application of this
nondischargeability statute”). Such a post-petition judgment would meet the requirements of
both Subsection (A) and (B) of § 523 U.S.C. (a) (19) for nondischargebility.


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        16.     Respondent cannot be discharged under Chapter 7 because an individual
Respondent cannot be discharged from any debt for “the violation of…any of the State securities
laws.” 11 U.S.C. § 523 (a)(19)(A). A nondischargeable debt for the violation of any State
securities laws “results… after the date on which the petition was filed from … any
judgment … in any State court proceeding.” 11 U.S.C. § 523(a)(19)(B) [emphasis added].

        17.     The Plaintiffs, by separate motion for relief from the automatic stay, are also
seeking to proceed in the state court proceeding in order to adjudicate Respondent’s violation of
State securities laws, to wit – the Colorado Securities Act, and to obtain a postpetition judgment
in the state court proceeding as required by law. Such a postpetition judgment would meet the
requirements of both Subsection (A) and (B) of § 523 U.S.C. (a) (19) for nondischargebility.


                            FIRST CLAIM FOR RELIEF
       (Determination That Debt Is Nondischargeable Under 11 U.S.C. § 523(a)(19))

        18.     The Plaintiffs repeats the allegations of paragraphs 1 through 17 above as if fully
set forth herein.

        19.     Respondent’s debt to the Plaintiffs pursuant to a judgment rendered in the state
court proceeding on the Sixth Claim for Relief (Sale of a Security by Defendants in Violation of
§ 11-51-604 (3) of the Colorado Securities Act) would be a debt for the violation of any State
securities laws after the date on which the petition was filed.

        20.     The Plaintiffs therefore request that, upon either a judgment in the state court
proceeding or in this Court, this Court enter judgment determining that Respondent’s debt to the
Plaintiffs pursuant to the judgment entered on the Seventh Claim for Relief in the state court
proceeding is nondischargeable in bankruptcy under § 523(a)(19) of the Bankruptcy Code.


                           SECOND CLAIM FOR RELIEF
      (Determination That Debt Is Nondischargeable Under 11 U.S.C. § 523(a)(2)(A))

        21.     The Plaintiffs repeat the allegations of paragraphs 1 through 16 above as if fully
set forth herein.

       22.     Respondent’s debt to the Plaintiffs under the First Claim for Relief (Violation of
§§ 18-17-104(3) and (4) of COCCA) was a debt for money obtained by false pretenses, false
representations and actual fraud.

        23.     The Plaintiffs therefore request that the Court enter judgment determining that
Respondent’s debt to the Plaintiffs pursuant to the judgment entered on the First Claim for Relief
in the state court proceeding is nondischargeable in bankruptcy under § 523(a)(2)(A) of the
Bankruptcy Code.


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                            THIRD CLAIM FOR RELIEF
      (Determination That Debt Is Nondischargeable Under 11 U.S.C. § 523(a)(2)(A))

        24.     The Plaintiffs repeat the allegations of paragraphs 1 through 17 above as if fully
set forth herein.

        25.     Respondent’s debt to the Plaintiffs under the Second Claim for Relief (Receipt of
Proceeds Subject to Forfeiture under § 18-17-106 of COCCA) was incurred for money obtained
for false pretenses, false representations or actual fraud.

        26. The Plaintiffs therefore request that, upon either a judgment in the state court
proceeding or in this Court, this Court enter judgment determining that Respondent’s debt to the
Plaintiffs pursuant to the judgment entered on the Seventh Claim for Relief in the state court
proceeding is nondischargeable in bankruptcy under § 523(a)(2)(A) of the Bankruptcy Code.

       WHEREFORE, The Plaintiffs respectfully requests a trial before the Court on all issues
and that the Court enter judgment against Weiss:

       (1)    determining the Respondent’s debt to the Plaintiffs as nondischargeable
       under 11 U.S.C. § 523(a)(2)(a), (4), (7) and (19); and

       (2)     granting such further relief as the Court deems proper.

DATED this 22nd day of December 2011.

                                      GUARDI & ASSOCIATES

                                      By: s/ Noel Guardi
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